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8                                    UNITED STATES DISTRICT COURT
9                                   SOUTHERN DISTRICT OF CALIFORNIA
10
11    LINDSEY MACK,                                            Case No.: 23cv1842-RBM (MSB)
12                                           Plaintiffs,
                                                               ORDER CONFIRMING SETTLEMENT AND
13    v.                                                       SETTING DEADLINE TO FILE JOINT
                                                               MOTION TO DISMISS
14    WESTERN GOVERNORS’ UNIVERSITY, et
      al.,
15
                                          Defendant.
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            A Settlement Conference was held on April 4, 2024. The case settled and the
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     terms of the settlement were placed on the record. Considering the settlement, the
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     Court VACATES all pending dates before Magistrate Judge Berg. Any matters currently
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     scheduled before the district judge will remain in effect pending notice from that court.
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            The parties are ordered to file their joint motion to dismiss this case, signed by
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     counsel of record and any unrepresented parties, no later than May 20, 2024. A
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     proposed order granting the joint motion must be e-mailed to the assigned district
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     judge’s chambers1 on the same day.
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27   1 The proposed order must be e-mailed pursuant to section 2(h) of the United States District Court for

     the Southern District of California’s Electronic Case Filing Administrative Policies and Procedures
28   Manual, available at www.casd.uscourts.gov.
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                                                                                            23cv1842-RBM (MSB)
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1          If the fully executed joint motion to dismiss is not filed by May 20, 2024, then all
2    counsel of record and unrepresented parties are required to appear in person for a
3    Settlement Disposition Conference. The Settlement Disposition Conference will be held
4    on May 28, 2024 at 1:30 p.m. in Courtroom 2C with Magistrate Judge Berg. If the
5    parties file their joint motion to dismiss on or before May 20, 2024, the Settlement
6    Disposition Conference will be VACATED without further court order.
7          If counsel of record or any unrepresented party fails to appear at the Settlement
8    Disposition Conference, or the parties fail to file the signed joint motion to dismiss in a
9    timely manner, the Court will issue an order to show cause why sanctions should not be
10   imposed for failing to comply with this Order.
11         IT IS SO ORDERED.
12   Dated: April 5, 2024
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